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                            UNITED STATES DISTRICT COURT FOR THE
                                 SOUTHERN DISTRICT OF TEXAS
                                    GALVESTON DIVISION

   BOBBY JACK COLLINS, individually,                    $
   and LEISA COLLINS, as Independent                    $
   Administrator of, and on behalf of, the              $
   ESTATE OF TONI JO COLLINS and                        $
   her heirs-in-law,                                    $
                                                        $
            Plaintiffs,                                 $   CIVIL ACTION NO.
                                                        $
   v                                                    $
                                                        $
   CITY OF GALVESTON, TEXAS; and                        $
   EVAN SUMNER FRALEY,                                  $
                                                        $
           Defendants                                   $

                                     PLAINTIFFS' ORIGINAL COMPLAINT

           Galveston Police Officer Evan Fraley, approximately 6t-8" tall and likely
   weighing 350-400 pounds, shot and killed Toni Collins, who was only approximately 5'-
   2" ttll and weighedl44 pounds, in a Galveston alley. feli Qsllins was not fleeing, had
   not been suspected of any serious crime, and did not possess a weapon. As one witness
   said, "It was unnecessary, uncalled-for, and unjustified.tt




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 TO THE HONORABLE UNITED STATES DISTRICT COURT:

          The Plaintiff files this complaint and for cause of action will show the following.


 I.       Introductory Allesations

          A.       Parties

          1.       Plaintiff Bobby Jack Collins ("Mr. Collins") is a natural person who resides and

 did reside and was domiciled in Texas at all relevant times. Mr. Collins was Toni Jo Collins' legal

and biological father. Toni Jo Collins is referred to herein at times as either'oToni" or "Ms.

Collins." Mr. Collins        asserts his    individual claims.

         2.       Plaintiff Leisa Collins is a natural person who resides and did reside and was

domiciled in Texas at all relevant times. Leisa Collins brings claims in this lawsuit as the

Independent Administrator of the Estate of Toni Jo               Collins. Leisa Collins   asserts any and all

claims available        in her capacity as the Independent          Administrator regarding Toni's death,

including all claims on behalf of the Estate and all of Toni's heirs-at-law including but not

necessarily limited to Mr. Collins and Toni's siblings, Lona Pearl Collins and Bobby John Collins.

Letters of independent administration were issued to Leisa Collins on or about June 27,2018, in

Cause Number 23442-CCL, in the County Court                  of Ector County, Texas, in a case styled In the

Estate of Toni Jo Collins, Deceased."

         3.       Defendant City           of   Galveston, Texas ("Galveston"   or the "City'') is a   Texas

incorporated municipality            I city. Galveston may be served with process pursuant to Federal Rule
of Civil Procedure      4(iQ) by serving its chief executive officer.      The identity of Galveston's chief

executive officer       is determined by Galveston's decision to use the council-manager form of

government. As      a   result, Galveston's chief executive officer is City Manager Brian Maxwell. City

Manager Brian Maxwell may be served with process at City Hall,823 Rosenberg, Suite 203,



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 Galveston, Texas 77 550, or wherever he may be found. Galveston may also be served with process

pursuant to Federal Rule of Civil Procedur e a(1)Q)by serving it in the manner prescribed by Texas

 State law for serving a summons or like process (a citation in Texas State courts) on such a

Defendant. Texas Civil Practice and Rernedies Code 17.024(b) reads, "In a suit against                      an

incorporated city, town, or village, citation may be served on the mayor, clerk, secretary, or

treasurer. Therefore, Galveston may also be served with process by serving its mayor, clerk,

secretary, or treasurer wherever any such person may be found. Galveston acted or failed to act at

all   relevant times,     in     accordance     with its customs, practices, and/or policies, through its
policymakers, chief policymakers, employees, agents, representatives, and/or police offrcers and

is liable for such actions           and,lor failure   to act to the extent allowed by law (including but not

necessarily limited to law applicable to claims pursuant to 42 U.S.C. $ 1983).

         4.       Defendant Evan Sumner Fraley ("Officer Fraley'' or ooMr. Fraley':; is a natural

person who resides and is domiciled, and may be served with process, at 517 Carrington Street,

Hutto, Texas 78634. Officer Fraley may also be served at his place of ernployment, Hutto Police

Departmen     t, at 401W. Front Street, Hutto, Texas 78634. Mr. Fraley may also be served with

process wherever he may be found or, pursuant to Federal Rule of              Civil Procedure 4(e), by leaving

a copy of this complaint and a summons directed to Mr. Fraley at               Mr. Fraley's dwelling or usual

place of abode with someone of suitable age and discretion who resides there. Mr. Fraley is being

sued in his individual capacity and acted at all relevant times under color of state         law. Mr. Fraley

was employed by andlor was the agent and/or designee andlor contractor of and for Galveston at

all such times and acted or failed to act in the course and scope of his duties for Galveston.




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          B.       Jurisdiction

          5.       The court has original subject matter jurisdiction over this lawsuit according to 28

U.S.C. $$ 1331 and1343(4),becausethissuitpresentsafederalquestionandseeksreliefpursuant

to federal statutes providing for the protection of civil rights. This suit arises under the United

 States Constitution and a federal statute including but not necessarily   limited to 42 U.S.C. $ 1983.

The Plaintiff does not, by including the following sentence, assert, stipulate to, or allege any state

law claims. However, to the extent any such claims are alleged or construed to be alleged in this

pleading, the court has supplemental jurisdiction over any such claims pursuant to 28 U.S.C.           $


 1367(a) due to them being so related to the claims within the court's original jurisdiction that they

and the claims within the court's original jurisdiction arise from a common nucleus of operative

fact and form part of the same case or controversy under Article             III of the United States
Constitution.

         6.       The court has personal jurisdiction over Galveston because            it is a Texas
municipality. The court has personal jurisdiction over the natural person Defendant because he

resides in, is domiciled in, and is a citizenof Texas.



         C.       Venue

         7   .    Venue is proper in the Galveston Division of the United States District Court for

the Southern District of Texas, pursuant to 28 U.S.C. $ 1391(b)(2), because     it is the division in the

district in which a substantial part of the events or omissions giving rise to claims asserted in this

pleading occurred.




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 IL       Factual Alleeations

          A.       Introduction

          8.       The Plaintiffs provide           in the factual allegations sections below the general
 substance of certain factual allegations. The Plaintiffs do not intend that those sections provide      in

detail, or necessarily in chronological order, any or all allegations. Rather, the Plaintiffs intend

that those sections provide the Defendants sufficient fair notice of the general nature and substance

of the Plaintiffs' allegations, and further demonstrate that the Plaintiffs' claim(s) have facial

plausibility. Whenever the Plaintiffs plead factual allegations "upon information and belief" the

Plaintiffs are pleading that the specified factual contentions have evidentiary support or will likely

have evidentiary support after a reasonable opportunity for further investigation or discovery.


         B.       Toni Jo Colhns

         9.       Toni, or'oTJ" as she was called by many friends and family, was born in Odessa,

Texas   in 1980. Toni's mother died in car accident when             she was about 2 years   old. Toni was
always very active as a child and loved to help her father in his mechanic's shop. She had a little

wooden work bench, and a little hammer, and was content to spend hours hammering pieces that

fit into the workbench.      She preferred that      kind of work to playing with dolls, and she was always

very curious.

         10.      As Toni grew older, she loved to swim. Toni received her lifeguard certification

and liked being in the water whenever possible. Toni also loved camping and fishing and generally

anything outdoors. She liked drawing, painting, and writing, and she was an honor student in high

school. Toni worked from a young age, starting at her grandparents' drug store in downtown

Odessa. Toni worked the soda fountain at the Henderson-Collins Drugstore, as well as the grill.




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 She worked weekends         in the summer months, and sometimes after school, for many years.    She

would also work for her "Pops" in his construction business doing clerical work.

          I   1.   Toni married her high school sweetheart, Clint, and they lived on the coast for

several years while Clint worked on offshore production platforms. Tragically, Toni's high school

sweetheart was tragically murdered in Odessa                     in2014.



                                 No Threat to Officer

          12.      Toni was a very small woman. She was only approximately 5'-2u tall, and her

weight would vary somewhat between approximately between 115 pounds and, at the time of her

death, approximately 144 pounds. She was noticeably smaller than an averageadult and appeared

so small physically, to at least one witness near the time of her death, that she looked like a child.




                                           Toni     -   5th   from left   -   5'2n'   tall




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            13.    Officer Fraley, in stark contrast to Toni, is a very large man. Upon information and

belief he is 6'-8" tall,      and he weighed at the time of Toni's death between 350 and 400 pounds.

Officer Fraley played college football for Eastern New Mexico University. Officer Fraley was an

offensive tackle and, during some college years, weighed approximately 315 to 320 pounds. Upon

information and belief, this was when he reached the peak of physical fitness, and he gained

significant wei ght    aft   erward.

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                      Officer tr'ralev -             2od   from left   - 6'-8" tall.350-400 nounds.
            14.   Officer Fraley also played football for four years at Montgomery High School.

Upon information and belief he likely played football even before then. Regardless, Officer

Fraley, for years, as a result of playing football, including related training, physical exertion, and

workouts, knocked down men as large if not larger than him. He played a sport - and a position

-    which prides itself on physical aggressiveness and the ability to slam large men to the ground.


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 Officer Fraley, through his experiences playing football, was well-aware ofhis physical superiority

 and ability to physically subdue someone his size, much less someone weighing less than 150

pounds.

          15.       Aside from Officer Fraley's extensive football experience in literally physically

knocking down men as large as himself, many times, over several years, he also received training

through the police academy and continuing law enforcement education as to how to fight and

subdue suspects. Officer Fraley received particularized training related to frghting and taking

down suspects - ensuring that people would not harm him in the process. Thus, Toni, merely 5'-

2" tall and weighing at most 144 pounds, was no physical match for Officer Fraley. More

important, due to her small physical presence, she was no threat at all to Officer Fraley. Officer

Fraley would not have had, and did not ever have, any fear that Toni could or would seriously

harm him or anyone else.


         D.         Officer Fraley Shoots and Kills Toni

         16.       Officer Fraley shot and killed Toni. The shooting happened in the late afternoon

on March 9,2017 in Galveston, Texas. It was, as one witness said, "Unnecessary, uncalled-for,

and unjustified."

         17.       Toni was in an alley with a man named Victor Mangum. She was holding what

was clearly a pink Daisy B.B. gun/air               rifle. Toni   was not threatening Mr. Mangum or anyone else

with the B.B. gun but instead simply holding                 it.   She had received   it   as a present, and she was

proud of   it.   Toni had no intent to shoot the B.B. gun at anyone, or harm anyone with it, and it was

apparent from looking at her, considering the circumstances, that she was not a danger to anyone

at the scene. Toni was not pointing the B.B. gun at anyone or                 in the direction of anyone.




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          18.       Officer Fraley, somehow learning of Toni's presence, sped to the scene in his

 vehicle. Upon information and belief, Officer Fraley had just finished eating at a restaurant. He

 stopped his vehicle abruptly and was                  with one or more family members. Officer Fraley, though

 off-duty, was acting in the course and scope of his duties as a City of Galveston police officer,

under color of state law.

          19.       Officer Fraley did not identify himself as a police officer. Even so, he pulled his

pistol and ordered Toni and Victor to lay on the ground. Victor laid on the ground, but Toni held

out the B.B. gun and said in substance, "It's a Daisy B.B. gun." One witness indicated that it

looked like an "air puff gun." Toni did not hold the gun out in             a   manner indicating that she intended

to use it, or shoot it at anyone, but instead simply to show officer Fraley that it was something

about which he needed not be concemed. She displayed                      it    so that he could see that   it did not
present a threat. Toni eventually dropped the B.B. gun as requested. Even so, Officer Fraley threw

her into a fence. Officer Fraley then kicked the B.B. gun away. Officer Fraley also pistol-whipped

Toni in the face.

         20.       One witness told another witness, "There's a crazy manin the alleyway with a gun."

She was referring to       Officer Fraley. A witness heard Officer Fraley yelling in substance, "Do it!

Do it! Do    it!   See   if I care!"   The witness thought that Officer Fraley was going to "unload" on

everyone at the scene. Officer Fraley appeared to be aiming the gun at everyone, and the witness

believed that he was not calm and was a possible threat to everyone in the area. The witness yelled

to some girls, "Get in the garage now!" Someone yelled, "There is a crazy man out in                         -   with   a

gun aiming it at everybody and not caring!"

         21.       Someone called for emergency service and said in substance, "Please               hurryup. Get

somebody out here before he hurts someone and shoots her." A gunshot rang out, and one or more




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 witnesses yelled     in substance, "It's too late! He done shot her!" A witness indicated that the

 neighborhood was pretty calm until Officer Fraley "waved his gun around like he did with no care

 or concern of alarm that was being created by him." Upon information and belief, none of the

witnesses knew that Officer Fraley was a police officer until after he had shot                 Toni. Another

officer, much later, told one of the witnesses, when the witness was asked to testifu, "We're not            -
we're not all bad." He was obviously referring to Officer Fraley's patently unreasonable killing

of Toni.

         22.      A witness indicated that Officer Fraley seemed very angry, but that his life was not

in danger at any time. The witness said:

         Uh, it was une- unnecessary provoking of the community, a tragic loss, uh, probably
         something that could have been prevented. Um, and that is my - my professional
         thought on that is that it is something that could've been prevented if handled much
         more calmly.

         23.      Another witness indicated that she did not hear Officer Fraley identify himself as a

police officer, and that he was wearing shorts, a t-shirt, and flip flops. Officer Fraley was not

dressed as a police officer, and he did not look like one. This led to the witness being significantly

confused when another police officer arrived after the shooting and did not take Officer Fraley into

custody. Upon information and belief, it appeared to everyone at the scene that Officer Fraley was

a criminal and not acting as a police               officer. He was not protecting the neighborhood, but rather

causing danger and panic in           it.   Officer Fraley had no fear that Toni could subdue him, hurt him,

or hurt anyone else at the scene.

         24.      Another witness saw what he perceived to be a Chewolet Suburban, which Officer

Fraley was driving,      "fl/ng"       to the ally. That witness had no idea who Officer Fraley was and

assumed he was someone that knew                     Toni and/or Mr. Mangum. The witness also saw Toni fly

through the air when Officer Fraley grabbed Toni and threw her like a rag doll into a fence. This



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was a clear demonstration of Officer Fraley's physical superiority over Toni                   -   and that there was

no need to shoot and      kill   her.

          25.      That witness told a 911 operator in substance, while Officer Fraley was waving his

gun back and forth,     "Y'all gotta       get here. Please. Somebody     -   he is going to   kill somebody. Get

here. Please." The witness said that, when officers arrived, they ran past Officer Fraley                        and

"tackled the black guy." The witness was referring to Mr. Mangum. The witness was surprised,

because he still did not know, after Officer Fraley had shot Toni, that Officer Fraley was a police

officer. The witness said to the arriving officers, "He's got the gun. He's got the gun." The

witness then recognized an officer that he knew, and the officer said to the witness, "Do you want

                                                     ooA
to give a staternent?" The witness said,                   statement? The statement I am going to give you,

you're not going to like     it.     Because that cop just   killed thatlady." The witness recalled the officer

as being   Officer Dominguez. The witness understands that Officer Dominguez was promoted to

detective at some point.

          26.      Another witness, after Toni had dropped the B.B. gun, saw Off,rcer Fraley pushing

Toni with one hand while he had his pistol in the other hand. The witness indicated that Officer

Fraley never identified himself, and that she "just thought he was crazy." The witness could hear

Toni yelling, "Stop! Stop!" Then she heard the gunshot.

          27.      Another woman saw Officer Fraley pistol-whip Toni, before he shot her. The

witness saw him hit Toni in the head with his pistol. That witness concluded her statement by

          ooMy
sayrng,          personal, ah, opinion is that it was unnecessary, uncalled for, and unjustified." Every

reasonable officer in Officer Fraley's shoes would agree.

          28.      After police officers arrived on the scene, a police officer kicked Mr. Mangrum in

his side. While Mr. Mangrum is not aparty to this case, he suffered abuse by that police officer.




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 That abuse was objectively unreasonable and a violation of Mr. Mangrum's constitutional rights,

 and   it   was engaged in by one of Officer Fraley's co-workers. This is shocking to say the least,

when Mr. Mangrum was doing nothing wrong, and the officer's co-worker had just shot and killed

a small woman without any             justification whatsoever. At worst, it was simply confirmation of the

custom and policy of the Galveston Police Department to exercise excessive force when dealing

with residents.

            29.     Toni did not, at the time she was shot, present a threat of serious bodily harm to

Officer Fraley or anyone else at the scene. Toni was also not fleeing at the time. Further, Toni

had not been accused of committing any serious crime, simply possessing a B.B. gun within the

City limits. Toni had no violent or serious criminal history and, upon information and belief, no

felony convictions. Officer Fraley's actions were patently unreasonable. According to Fifth

Circuit precedent, and its clearly-established law, Officer Fraley was put on notice that shooting

and    killing Toni, under such circumstances, was             a violation   of clearly-established constitutional

rights. Every reasonable police officer in officer Fraley's position would have known that his

action viiolated such clearly-established constitutional rights.

            30.    It was clearly established that     a   police officer should not shoot a firearm at a suspect

not accused of a serious crime, not fleeing, and not presenting a significant risk of harm to the

officer or anyone else    at the scene.       Officer Fraley could have easily physically subdued Toni, who

was not holding a weapon at the time she was shot and killed, including but not limited to the

innocuous air      rifle. If Officer Fraley felt the need to physically subdue Toni, which would             have

been unreasonable in light of the situation, he could have easily done so with this bare hands.

Instead, with the subjective intent to do exactly what he did, he shot and killed Toni. Officer Fraley

acted       in an unobjectively unreasonable            manner and violated Toni's clearly-established




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 constitutional rights. Thus, his actions resulted in, were producing causes           of   and were proximate

 causes of   Toni's death and all damages asserted and/or referenced in this pleading.


          E.       Autopsy Report

          31.      The Galveston County Medical Examiner's office conducted an autopsy of Toni.

The autopsy report, and the Medical Examiner's findings, indicate that Toni did not die instantly

upon being      shot.   Instead, upon information and belief, she experienced conscious pain and

suffering.

         32.      The autopsy report indicates that Toni suffered a perforated gunshot wound of her

torso with entry in her left chest. The report also indicates that Toni weighed t44 pounds, and was

5'-2" tall. There was an abrasion on the left side of her forehead and contusions on her left upper

back.

         33.      The entry gunshot wound was 122 centimeters above Toni's left heel, 6 centimeters

left of her anterior midline, and 6.5 centimeters from the left nipple in a ten o'clock direction.

There was no soot, stippling, or muzzle imprint present. The bullet entered the chest cavity through

the sternum at the level of Rib Number               4.   The path of the bullet was from front to back   - and
downward. Therefore, the exit gunshot wound was I 1.5 centimeters lower than the entry gunshot

wound, the bullet thus exiting only 108.5 centimeters above Toni's left heel. The exit wound was

also 4.5 centimeters left of Toni's posterior             midline. The autopsy report indicates that Toni died

from a gunshot wound, and the manner of death was oohomicide."


         F.       The City's Post-Death Reporting

         34.      Chief Richard Boyle of the Galveston Police Department completed a custodial

death report, as required by law, and            it was transmitted to the Attorney General of Texas. Chief




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 Boyle was less than candid and made the situation out to be one in which Officer Fraley was in

 fear of his    life.   The report did correctly list Toni's death as a "homicide." However, it falsely

 indicated that Toni would have been charged with an alleged offense of o'aggravated assault with

 a deadly    weapon." Toni did not commit that offense, and the allegation that she did was false.

           35.     The report further painted a picture            of    something other than what actually

happened. Chief Boyle wrote, "Officer was made aware of a situation involving a female subject

with   a   long gun. Officer confronted the subject, who was in possession of what appeared to be a

long gun." Officer Fraley knew he was unnecessarily confronting a woman with a B.B. gun, who

was no threat to him, and who did not possess the B.B. gun at the time Officer Fraley chose to

shoot and     kill the woman. Chief Boyle writing that Officer Fraley was confronted by a woman

with a "long gun" gives the false mental image that she possessed what the media has recently

termed an "assault        rifle."    The false representations and illustrations in the report indicate Chief

Boyle's approval of Officer Fraley shooting and killing Toni. This, due to Chief Boyle being the

Defendants' chief policymaker regarding police matters, demonstrated the practice, custom, and

policy of the City regarding shooting people such           as   Toni.


           G.      The Cover-Up: Refusal to Produce Records

           36.     Upon information and belief, the City of Galveston has chosen to engage in         a   cover-

up regarding documents and other records regarding the shooting.                  It failed to produce certain
records, after indicating there would be a charge for such production.                It then indicated to the

Attorney General of Texas that the investigation regarding Toni's death was ongoing, and thus

that the City did not need to produce any responsive records pursuant to the Public Information

Act. The City did so well after a grand jury            decided not to indict Officer Fraley for a criminal

offense, which      of course        has no bearing on whether he violated Toni's constitutional rights.



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 Nevertheless, upon information and belief; the City has refused                       to produce all   responsive

 documents and items because it knows that Toni's killing by Officer Fraley was unwiuranted and

 without any legal or moral justification.


          H.       Texas Commission on Law Enforcement Records

          37.     Upon information and belief, all of Officer Fraley's training related to being                 a

police officer has been reported to the Texas Commission on Law Enforcement ("TCOLE").

According to TCOLE, Officer Fraley became                     a   licensed peace officer in December 2013. Officer

Fraley had been a licensed peace officer only a little over 3 years at the time he shot and killed

Toni. Offrcer Fraley was not awarded the basic peace officer certification until after Toni's death.

He also did not receive the intermediate peace officer certification until well after Toni's death              -
on March 20,2018.

         38.      Officer Fraley, in addition to all of the experience referenced above gained through

football and law enforcement training regarding his ability to subdue large suspects, much less                  a

5'2",     approximately 140-pound woman, Officer Fraley received significant training related to

the physical aspects of being a police officer. TCOLE records indicate that he received the

following such training:

     Course           Course Title                   Course        Course                Institution
      No.                                             Date          Hours
      3340           Crowd Control               t2/t6/t6             4         Galveston Police Department
                                                                                     (Training Rosters)
       3340          Crowd Control               l0l2vt6              4         Galveston Police Department
                                                                                     (Training Rosters)
       3340          Crowd Control               ro/20/16             24         Houston Police Acaderny
       3340          Crowd Control               09/23/16             4         Galveston Police Department
                                                                                     (Training Rosters)
       3340          Crowd Control               08l19lt6             4         Galveston Police Department
                                                                                     (Training Rosters)
       3340          Crowd Control               07/29^6              4         Galveston Police Department
                                                                                     (Training Rosters)



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      Course           Course Title              Course     Course           Institution
       No.                                        Date      Hours
       2055               Firearms               06107n6      4      Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              051201r6     4      Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              IU20n5       4      Galveston Police Department
                                                                          (Training Rosters)
        2055             Firearms                lUtUt5       4      Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              l0/30115     4      Galveston Police Department
                                                                          (Trainine Rosters)
        3340          Crowd Control              09l23lrs    24       Houston Police Academy
        3340          Crowd Control              08128/rs    4       Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              06126tr5     4      Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              05lrslts     4      Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              04124/ts     8      Galveston Police Department
                                                                          (Training Rosters)
       3322             Patrol Rifle             0U3Ut5       t6     Galveston Police Department
                                                                          (Training Rosters)
        3340          Crowd Control              0U23l15      8      Galveston Police Department
                                                                          (Training Rosters)
       3340           Crowd Control              0UITlls     40       Houston Police Academy
       3340           Crowd Control              07125114    4       Galveston Police Department
                                                                          (Training Rosters)
       3340           Crowd Control              05130114     4      Galveston Police Department
                                                                          (Training Rosters)
       3722        Peace Officer Field           03114114    160     Galveston Police Department
                        Training                                          (Training Rosters)
       3344           Less Lethal                0U03/14      8      Galveston Police Department
                   Electronic Control                                     (Training Rosters)
                    Device Training
       2053             Baton (AI)               r2l30lt3     8      Galveston Police Department
                                                                           (Training Rosters)
       20s5              Firearms                t2/t3lt3    24      Galveston Police Department
                                                                           (Training Rosters)
     1000643      Basic Peace Officer            L2l03l13    643     College of the Mainland LEA
                     Course (643)




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 Thus, Officer Fraley was well-trained and had significant life experience regarding subduing Toni

 with his bare hands. He had demonstrated this by grabbing her and throwing her through the air,

 like a rag doll, into the fence, prior to deciding to shoot and kill her.


          I.                 Liabilitv

          39.      The City of Galveston is liable for all damages referenced in this pleading,

including those suffered by Mr. Collins, the Estate of Toni Jo Collins, and Toni's heirs-at-law,

pursuant to Monell v. Department of Soc. Servs.,436 U.S. 658 (1973) and its progeny. Such

liability arises due to the action and/or inaction of the chief policymaker for the City of Galveston

and/or Galveston Police Department regarding material issues in this case. The chief policymaker

was the chief of police at all relevant times, or the chief policymaker for the City had delegated

such chief policymaking authority, regarding police activities, to the chief of police. The City's

action and inaction otherwise referenced in this pleading, related to alleged damages, and its

policies, practices, and/or customs, were moving forces behind, resulted in, were producing causes

of, and were proximate causes of the referenced constitutional violations and damages.


                  1.        The City Ratified Officer Fralev's Actions

         40.      The City has Monell liability due to, upon information and belief its failure to

sufficiently discipline Officer Fraley as a result of the unconstitutional seizure and use of force.

Upon information and belief Officer Fraley was not given any time off without pay, was not

disciplined, was not reprimanded, was not instructed to act in any different manner in the future,

and was not instructed to participate in any additional training andlor education. The City had

plenty of evidence      -   more than sufficient to be presented to a grand jury            -   regarding Officer

Fraley's actions. Even so, after review              ofall   such evidence, contrary to any reasonable analysis,




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 upon information and belief, the City chose to do nothing to Officer Fraley. Instead, upon

 information and belief, the Chief of Police assisted Officer Fraley in securing a new position with

 the Hutto Police Department.

          41.      Upon information and belief, Galveston Assistant Police Chief Byron Frankland

 became police chief      of the Hutto, Texas Police Department after Toni was shot and killed but

before Officer Fraley obtained a new position with the Hutto Police Department. Upon

information and belief, Officer Fraley, who after killing Toni resigned from the Galveston Police

Department, was able         to      secure a new position with the Hutto Police Department with the

assistance    of the City of          Galveston Police      Chief. This was further     evidence   of the City's
ratification of Officer Fraley's conduct as being an expression of City policy, practice, and/or

custom. Thus, such policy, practice, and/or custom was                 a   moving force behind, and a proximate

and producing cause of, Toni's death and all damages sought and/or referenced in this pleading.



                  2.       The Citv's Policies. Practices. and Customs Regardine Off-Dut)' Officers
                           Were Moving Forces Behind and Caused Toni's Death

         42.      The City of Galveston Police Department Policy Manual ("Manual") indicates that

authority has been delegated to the Galveston Chief of Police to "create and maintain rules,

regulations, and special orders to fulfrl his role of providing direct supervision and control over

the Police Department . . .          ."   Further,   "It is pursuant to this authority that the Galveston   Police

Department has created its Manual." The Manual also reads that the Chief of Police shall review

and approve revisions to the Manual.

         43.       Policy 206, included in the Manual, is entitled "Control Devices and Techniques."

It indicates that control devices approved by the Galveston Police Department are:

                  o         Baton and/or impact weapon (long, short, side-handle or expandable)




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                   o         Oleoresin Capsicum (OC) spray

                   r         Chemical agents and their delivery systems

                   o        Kinetic energy projectiles and their delivery systems

                   o        TASER device

 The Manual indicates that such control devices may be used by an officer when a decision has

been made to restrain or arrest a subject who is violent or who demonstrates the intent to be violent,

 and when the use of such a device appears to be reasonable under the circumstances.

          44.     The City does not authorize police officers to carry Taser devices while off-duty,

unless a police officer is engaged in police-related outside ernployment. Upon information and

belief, the City also does not authorize police officers to carry any of the other "control devices"

when off-duty and not engaged in police-related outside employment. However, the City

authorizes police officers to carry firearms while    off-duty. Thus, upon information and belief, the

only use of force assistive-device which the City allows its police officers to carry when off-duty,

and not engaged in police-related onployment, is a     firearm. Therefore, even though Officer Fraley

did not need to use any assaultive-type force with Toni, when deciding to do so regardless, the

only assistive device allowed by the CitS upon information and belief, for Officer Fraley to cary

off-dut5 and use, was a firearm. Thus, he was. presented only two ways in which to physically

use the firearm   -pistol-whipping someone and shooting someone. In this case, he did both. Thus,

upon information and beliei the City's policies regarding off-duty officers were a moving force

behind all claims and damages asserted in this pleading.




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                            '|-hc frifrrta       Eoihrra   toA        rr Trqin qnAlnr Srrnanricp f)fficpr Frolarr
                            was a Movins Force                   and Caused Toni's Death

          45.      Further, upon information and belief, the City of Galveston failed to appropriately

 train and/or supervise Officer Fraley as to how to handle off-duty situations. The City allowed

 Officer Fraley to, alone, address the situation occurring just before Officer Fraley shot Toni. The

 City should have better supervised Offrcer Fraley, by sending a uniformed police officer to the

 scene   if in fact there was some incident requiring police         assistance (which the Plaintiffs deny).

          46.      Moreover, in addition and in the alternative, upon information and belief, the City

did not appropriately train Officer Fraley as to how to handle an off-duty situation such as that he

encountered. Upon information and belief, the City also did not provide to Officer Fraley or any

other officers de-escalation training and/or techniques. The City's failure to appropriatelyprovide

such training and/or supervise Officer Fraley were, upon information and belief, moving forces

behind and proximate and producing causes of damages alleged in this pleading and Toni's

untimely death.


ru.               of Action

         A.       CauseofActionAsainstEvanSumnerFraleyUnder42U.S.C.                        $ 1983   forViolation
                  of 4th and l4th Amendment Rishts

         47.      In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or commonJaw right, and incorporating

all other allegations herein (including all factual allegations above) to the extent they are not

inconsistent with the cause of action pled here, Defendant Fraley is liable to the Plaintiffs and

Toni's heirs at law, pursuant to 42 U.S.C. $ 1983, for violating Toni's rights guaranteed by the

Fourth Amendment alone, and/or in addition and/or in the alternative as the Fourth Amendment

has been incorporated to be applied to the States pursuant to the Fourteenth Amendment. Officer



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 Fraley acted and failed to act under color of state law at all times referenced in this pleading.

 Officer Fraley was deliberately indifferent to Toni's constitutional rights, and he acted in         an

 objectively unreasonable manner when seizing and using force with                Toni. He exercised
 constitutionally impermissible excessive force and seizure. Officer Fraley violated clearly

 established constitutional rights, and his conduct was objectively unreasonable in light of clearly

 established law at the time of the relevant incident.

         48.       It was clearly-established law, in the Fifth Circuit, at the time Officer Fraley chose

to assault and shoot and kill Toni, that an officer cannot physically assault with his hands, or shoot

with a firearm, a person who is not resisting arrest, is not fleeing, is not suspected of a serious

crime, and who is not a risk of serious injury to the officers or others. Further, it was at the time

clearly-established law in the Fifth Circuit that a law enforcement officer's use of force is excessive

when an officer strikes, punches, or violently slams a suspect who is not resisting arrest. Use of a

firearm is force well beyond striking or punching a person not resisting arrest and would thus be

unconstifutional excessive force and seizure.

         49.      It should be undisputed that there is absolutely no factor or fact which cuts in favor

of Officer Fraley's chosen use of force in this case. His use of force was objectivelyunreasonable,

unconstitutional, and against clearly-established law. There were also no exigent circumstances

allowing Officer Fraley to use the force which he chose to use. Therefore, Officer Fraley is not

entitled to qualified immunity.

         50.      The United States Court of Appeals for the Fifth Circuit has held that using a state's

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42U.5.C. $ 1983. Therefore, the heirs-at-1aw, including Mr. Collins and Toni's siblings, and the

Estate of Toni Jo Collins, seek all remedies and damages available under Texas and federal law,




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 including but not necessarily limited to the Texas wrongful death statute (Tex. Civ. Prac. & Rem.

 Code $ 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac.     & Rem. Code g 71.021),           the

 Texas Constitution, cofirmon law, and all related and/or supporting case law. Therefore, Toni's

 estate and/or her heirs at law suffered the following damages, for which they seek recovery from

 this natural person Defendant:

          o   Toni's conscious physical pain, suffering, and mental anguish;

          o   Toni's medical expenses;

          o   Toni's funeral expenses; and

         .    exemplary/punitivedamages.

         51. All such damages were caused and/or proximately caused by the natural person
Defendant. If Toni had lived, she would have been entitled to bring a42IJ.S.C. $ l9S3 action and

obtain remedies and damages provided by Texas and federal law.

         52.      Mr. Collins also seeks all damages available to him individually   as a   result of Toni's

wrongful death. Mr. Collins was Toni's legal and biological father. Like all other damages alleged

in this section of this pleading, damages suffered by Mr. Collins were caused andlor proximately

caused by the natural person Defendant. Therefore,      Mr. Collins seeks and is entitled to obtain all

remedies and damages available to him for the 42 U.S.C. $ 1933 claims. The natural person

Defendant's actions caused, were proximate causes of, and/or were producing causes                   of   the

following damages suffered by Mr. Collins, for which he individually seeks compensation:

         o    loss of services that Mr. Collins would have received from his daughter, Toni;

         o    Toni's funeral expenses;

         a    past mental anguish and emotional distress suffered by him resulting from and caused
              by the death of Toni;

         a    futuremental anguish and emotional distress sufferedbyhimresulting from and caused


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              by the death of Toni;

          .   loss of companionship and society that he would have received from Toni; and

          .   exemplary/punitivedamages.

          53.      Exemplary/punitive damages are appropriate in this case to deter and punish clear

 and unabashed violation of Toni's constitutional           rights. The natural person Defendant's actions

 andlor inaction showed a reckless or callous disregard            of   or indifference to, Toni's rights and

 safety. In addition, all such           damages resulted   from the natural person Defendant choosing to

proceed with conscious indifference to and disregard of the rights, safety, or welfare of Toni after

having an actual subjective awareness of the risk involved but nevertheless proceeding with actions

resulting in her injuries and death. The natural person Defendant's actions, when viewed

objectively from his standpoint at the time of the acts andlor omissions involved, resulted in an

extreme degree of risk, considering the probability and magnitude of potential harm to Toni.

Moreover, all Plaintiffs in this case seek from the natural person Defendant reasonable and

necessary attorneys' fees available pursuant to 42 U.S.C. $$ 1983 and 1988.




         B.       Cause of Action Asainst Citv of                   Under 42 U.S.C. S 1983 for Violation
                  of4tr and 14ft            Rishts

         54.      In the alternative, without waiving any of the other causes of action pled herein,

without waiving any procedural, contractual, statutory, or common-law right, and incorporating

all other allegations herein (including all factual allegations above) to the extent they are not

inconsistent with the cause of action pled here, Defendant City of Galveston is liable to the

Plaintiffs, and Toni's heirs at law, including Mr. Collins and Toni's siblings, pursuant to 42 U.S.C.

$ 1983, for violating Toni's rights guaranteed by the Fourth Amendment alone, and/or in addition

and/or in the alternative as the Fourth Amendment has been incorporated to apply to the States



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 pursuant to the Fourteenth Amendment. Officer Fraley was at all times referenced in this pleading

 acting in the course and scope of his duties of and for the City of Galveston, and he was acting

 under color of state     law. The City acted or failed to act under color of state law at all relevant

 times.

          55.      Upon information and belief, the City's customs, practices, and/or policies caused,

 were proximate causes of, and/or were producing causes of all damages referenced herein. The

 Galveston Chief of Police was the chief policymaker at all times relevant to this pleading, and he

was the one that determined the customs, practices, and policies referenced herein, or the City's

chief policymaker had delegated to the Galveston Chief of Police such chief policymaking

authority. The chief policymaker's failure to adopt, upon information and belief, policies

referenced in this pleading, as well as his failure to stop customs, practices, and policies which

developed and which are mentioned in this pleading, were intentional choices. Thus, the City was

deliberately indifferent to, and acted in an objectively unreasonably manner regarding, Toni's

constitutional rights (as well         as the   rights of any others who suffered Fourth Amendment violations

at the hands of Galveston police officers.) Upon information and belief, the City's customs,

practices, and/or policies were moving forces behind the violation of Toni's rights and showed

deliberate indifference to the known or obvious consequences of constifutional violations. They

also, upon information and belief, caused, were proximate causes of, and were producing causes

of all damages resulting from unconstitutional excessive force against and seizure of Toni.

          56.      The United States Court of Appeals for the Fifth Circuit has held that using a state's

wrongful death and survival statutes creates an effective remedy for civil rights claims pursuant to

42 U.S.C. $ 1983. Therefore, the heirs-at-law, including Mr. Collins and Toni's siblings, and the

Estate of Toni Jo Collins, seek all remedies and damages available under Texas and federal law,




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 including but not necessarily limited to the Texas wrongful death statute (Tex. Civ. Prac. & Rern.

 Code $ 71.002 et seq.), the Texas survival statute (Tex. Civ. Prac.       & Rem. Code g 71.021), the

 Texas Constifution, common law, and all related and/or supporting case         law. Therefore, Toni's

 estate and/or her heirs at law suffered the following damages, for which they seek recovery from

 the City:

          o   Toni's conscious physical pain, suffering, and mental anguish;

          o   Toni's medical expenses; and

          o   Toni's funeral expenses.

All   such damages wore caused and/or proximately caused by the       City. If Toni had lived,   she   would

have been entitled to bring        a42U.S.C. $ 1983 action and obtain remedies and damages provided

by Texas and federal law.

         57.      Mr. Collins also, individuallS    seeks and   is entitled to all remedies and damages

available to him for the 42 U.S.C. $ 1983 violations. Mr. Collins seeks those damages due to the

wrongful death of his biological and legal daughter. All damages suffered by the heirs-at-1aw,

including Mr. Collins, were caused and,lor proximately caused bythe City, and the City's policies,

practices, and./or customs were moving forces behind such damages. Therefore, the City's actions,

policies, practices, and customs caused, were proximate causes of, were producing causes of, and

were moving forces behind the following damages suffered by Mr. Collins, for which he

individually seeks compensation:

         o    loss of services that Mr. Collins would have received from his daughter, Toni;

         o    Toni's funeral expenses;

         o    past mental anguish and emotional distress suffered by him resulting from and caused
              by the death of Toni;

         a    future mental anguish and emotional distress suffered by him resulting from and caused



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              by the death of Toni; and

          o   loss of companionship and society that he would have received from Toni.

 Moreover, all Plaintiffs in this case seek from the City reasonable and necessary attomeys' fees

pursuant to 42 U.S.C. $$ 1983 and 1988.




IV.      Concluding Allegations

         A.        Conditions Precedent

         58.      All conditions precedent to assertion of the Plaintiffs' claims have occurred.


         B.       Use of Documents

          59.     The Plaintiffs intend to use at one or more pretrial proceedings, in motion practice,

and/or at trial all documents produced by the Defendants in this case in response to written

discovery requests.


         C.J            Demand

         60.      The Plaintiffs demand a jury trial on all issues which may be tried to         a   jury


         D        Prayer

         61.      For these reasons, the Plaintiffs ask that the Defendants be cited to appear and

answer, and that the Plaintiffs (and Toni's heirs at law, including Mr. Collins and Toni's siblings)

have judgment for damages             within the jurisdictional limits of the court and against all Defendants,

jointly and severally,     as   legally applicable, for:

                  a)       actual damages of and for Bobby Jack Collins individually including but
                           not necessarily limited to the following:

                           a            loss of services that he would have received from his daughter, Toni;




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                           a       Toni's funeral expenses;

                                   past mental anguish and emotional distress resulting from and
                                   caused by the death of Toni;

                           a       future mental anguish and emotional distress resulting from and
                                   caused by the death of Toni; and

                           a       loss of companionship and society that he would have received from
                                   Toni;

                  b)       actual damages       of   and for the Estate of Toni Jo Collins through its

                           Independent Administrator Leisa Collins (ultimately the heirs-atJaw          of
                          Toni, including Bobby Jack Collins and Toni's siblings) including but not

                          necessarily limited to the following:

                          .        Toni's conscious physical pain, suffering, and mental angursh;

                          .        Toni's medical expenses; and

                          .        Toni's funeral expenses;

                  c)      exemplary/punitive damages for all Plaintiffs (including all heirs at law     of
                          Toni, including Mr. Collins and Toni's siblings) from the natural person

                          Defendant;

                 d)       reasonable and necessary attorneys' fees for all Plaintiffs (including all heirs

                          at law of Toni, including     Mr. Collins and Toni's siblings) through trial and

                          any appeals and other appellate proceedings, pursuant to 42 U.S.C. $$ 1983

                          and 1988;

                 e)       court costs and all other recoverable costs;

                 0        prejudgment and postjudgment interest at the highest allowable rates; and

                 s)       all other relief, legal and equitable, general and special, to which        the

                          Plaintiffs (and all heirs at law) are entitled.



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                                                     Respectfully submitted,




                                                           /s/ T. Dean Malone
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